Case 3:21-cv-00367-RGJ-CHL Document 40 Filed 01/14/22 Page 1 of 7 PageID #: 1630




                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                       CIVIL ACTION NO. 3:21-CV-00367-RGJ-CHL


 SISTERS FOR LIFE, INC., et al.,                                                     Plaintiffs,

 v.

 LOUISVILLE-JEFFERSON COUNTY
 METRO GOVERNMENT, et al.,                                                         Defendants.

                                             ORDER

        The undersigned held a telephonic status conference in this matter on January 7, 2022.

 Participating were the following:

        FOR PLAINTIFFS:                Christopher D. Wiest; Thomas B. Bruns; Francis Manion

        FOR DEFENDANTS:                John F. Carroll; Natalie Johnson

        COURT REPORTER:                Dena Legg

        The Court set this call at the request of counsel for Defendants to discuss a discovery

 dispute between them regarding the Fed. R. Civ. P. 30(b)(6) deposition of Defendant Louisville-

 Jefferson County Metro Government scheduled for January 11, 2022. In light of the Court’s order

 on consolidation, all parties, including the newly consolidated Plaintiffs, indicated that they are

 prepared to proceed with that deposition as scheduled. Counsel for Plaintiffs Harpring and Kenney

 indicated that counsel for the remaining Plaintiffs had already shared the discovery completed to

 date in the Sisters case with him and requested that Defendants’ counsel also share their discovery

 file to enable the Plaintiffs Harping and Kenney to get up to speed with what discovery has already

 been conducted.

        District Judge Rebecca Grady Jennings referred this matter to the undersigned for “hearing

 on and entry of an expedited scheduling order.” (DN 35, at PageID # 1537.) During the call,
Case 3:21-cv-00367-RGJ-CHL Document 40 Filed 01/14/22 Page 2 of 7 PageID #: 1631




 counsel for Harpring and Kenney indicated a general willingness to be bound by the schedule

 already established for the Sisters action but requested an additional thirty days for discovery. As

 it appeared the parties were prepared to discuss changes to the schedule, the undersigned and the

 parties addressed the current deadlines, including Defendant’s request to extend their expert

 disclosure deadline until after the close of any fact discovery. Based on the discussion during the

 call and pursuant to Fed. R. Civ. P. 16, the deadlines set forth below shall be observed in these

 consolidated actions. Plaintiffs indicated a desire to move this action forward as expeditiously as

 possible, and Defendants did not oppose. In keeping with that desire, the parties are advised that

 the deadlines set by the Court below are “no later than” deadlines, not “no earlier than” deadlines

 and that they are free to move as expeditiously as they desire within the confines of their own

 schedules and the tasks to be accomplished.

        Based on the Plaintiffs’ expressed desire for an earlier trial date, the Court subsequently

 exchanged e-mails with the Parties regarding a potential earlier trial date. Given defense counsel’s

 trial schedule, the Court will leave the original trial date from the Sisters action intact and set this

 matter for a two-day bench trial.


        Accordingly,

        IT IS HEREBY ORDERED as follows:

        (1)     Fact Discovery.

                a) To the extent not already completed, initial disclosures pursuant to Rule

                    26(a)(1) shall be completed no later than January 21, 2022;

                b) The parties are under a continuing duty under Rule 26(e) to supplement their

                    disclosures and responses whenever reasonably appropriate;

                c) The parties shall complete all fact discovery no later than February 28, 2022.



                                                    2
Case 3:21-cv-00367-RGJ-CHL Document 40 Filed 01/14/22 Page 3 of 7 PageID #: 1632




        (2)     Expert Discovery.

                a) Identification of experts in accordance with Rule 26(a)(2) shall be due:

                         i. By Plaintiff(s):            no later than January 31, 2022;

                        ii. By Defendant(s):            no later than March 14, 2022.

                b) At the time expert reports and supplementation of the reports are exchanged, at

                    least two proposed dates for the deposition of each expert witness within the

                    following thirty days shall be provided.

                c) All expert discovery shall be completed by April 11, 2022.

        (3)     Joint Status Report and Conference at the Close of Discovery. By no later than

 February 17, 2022, the parties shall file a joint status report with the Court regarding their progress

 in discovery that includes the parties’ positions on mediation. A telephonic status conference is

 scheduled for February 24, 2022, at 10:30 a.m. before the Honorable Colin H. Lindsay, United

 States Magistrate Judge. Counsel shall connect to the conference by dialing 1-888-808-6929,

 access code 2773744.

        (4)     Dispositive and Expert Motions. No later than April 29, 2022, counsel for the

 parties shall file all dispositive motions and any motions objecting to the admissibility of expert

 witness testimony under Federal Rule of Evidence 702, Daubert v. Merrell Dow Pharmaceuticals,

 Inc., 509 U.S. 579 (1993), and Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999). The party

 filing the last pleading in response to such motions shall notify the Court by email to the Court’s

 Deputy, Ms. Andrea Morgan by email at andrea_morgan@kywd.uscourts.gov, with copies to

 opposing counsel, that the motions are ripe for decision. Applications for extensions of time will

 be granted only upon good cause shown.




                                                   3
Case 3:21-cv-00367-RGJ-CHL Document 40 Filed 01/14/22 Page 4 of 7 PageID #: 1633




        (5)    Pretrial Conference. This matter is assigned for a Pretrial Conference before the

 trial judge on October 25, 2022, at 2:30 p.m. at the Gene Snyder U.S. Courthouse, Louisville,

 Kentucky.

               a) No later than twenty-one (21) days before the Pretrial Conference, counsel

                  shall file:

                       i. a list of witnesses in accordance with the Fed. R. Civ. P. 26(a)(3). The

                          witness lists shall specify those witnesses who will testify at the trial of

                          this action versus those who may testify, in accord with Fed. R. Civ. P.

                          26(a)(3)(A) and shall identify all witnesses who will testify by

                          deposition, specifying the portions of such deposition testimony that

                          will be used at trial, in accord with Fed. R. Civ. P. 26(a)(3)(B). The

                          witness lists shall also set forth the subject matter of each witness’s

                          testimony and the purpose for which such testimony is offered;

                      ii. an exhibit list in accordance with the Fed. R. Civ. P. 26(a)(3). The

                          exhibit list shall include any demonstrative and/or summary exhibits to

                          be used at trial (including any to be used during opening statements) and

                          shall contain a description of each exhibit in sufficient detail to permit

                          adequate identification thereof;

                     iii. any appropriate motions in limine;

                     iv. the transcript of all evidentiary depositions to be used at trial along with

                          any motions for ruling by the court upon any objection made in any

                          evidentiary deposition to be used at trial on which ruling by the court is

                          necessary prior to trial. Any objection within any deposition which is




                                                 4
Case 3:21-cv-00367-RGJ-CHL Document 40 Filed 01/14/22 Page 5 of 7 PageID #: 1634




                        not so raised specifically (by citation to page number and question

                        number) for ruling by the court shall be deemed to be summarily

                        overruled; and

                    v. a pretrial memorandum brief containing a succinct statement of the facts

                        of the case, the issues of fact to be resolved at trial, the disputed issues

                        of law that must be resolved in connection with the trial, and a brief

                        summary of the party’s position on each disputed issue of fact or law.

             b) No later than fourteen (14) days before the Pretrial Conference, the parties

                shall file:

                     i. written objections, pursuant to Fed. R. Civ. P. 26(a)(3), to the lists of

                        witnesses and exhibits previously filed by any other party. Objections

                        not so disclosed, other than objections under Rules 402 and 403 of the

                        Federal Rules of Evidence, shall be deemed waived unless excused by

                        the court for good cause shown;

                    ii. responses to any other party’s motion in limine; and

                   iii. responses to any other party’s motion for a ruling on any objection made

                        in an evidentiary deposition.

             c) At the Pretrial Conference, counsel for the parties shall be prepared to:

                     i. discuss and make possible stipulations of admissibility, or threshold

                        foundation requirements for admissibility of exhibits, including

                        authenticity; discuss and make stipulations of fact or law which would

                        expedite the trial of this action;

                    ii. disclose any demonstrative or summary exhibits intended for use at trial;




                                               5
Case 3:21-cv-00367-RGJ-CHL Document 40 Filed 01/14/22 Page 6 of 7 PageID #: 1635




                       iii. display to the court all exhibits intended to be used at trial, which shall

                            already be pre-marked in accordance with Local Rule. Counsel shall

                            provide the court with a copy of all documentary exhibits. Failure to

                            disclose exhibits to the Court and to opposing counsel at the Pretrial

                            Conference shall be subject to sanctions unless good cause is shown;

                       iv. discuss the possibility of settlement; and

                        v. advise the Court of anticipated technological issues that may arise at

                            trial.

                d) The Pretrial Conference shall be attended by all attorneys who will be trying

                    the case along with the parties and/or representatives.

        (6)     Trial. This action is hereby set for a bench Trial on November 7, 2022, at 9:30

 a.m. at the Gene Snyder United States Courthouse, Louisville, Kentucky. Counsel should be

 present in the courtroom by 9:00 a.m. The anticipated length of trial is two days.

        (7)     Discovery Disputes. Motions on discovery and scheduling disputes may not be

 filed without first having a joint telephonic conference with the Magistrate Judge arranged

 through his or her chambers. Pursuant to Local Rule 37.1, prior to filing a discovery motion

 (i.e., motion to compel, motion for sanctions etc.), all counsel must make a good faith effort to

 resolve extra judicially any dispute relating to discovery. The Court will not entertain discovery

 motions unless counsel have conferred – or attempted to confer – with other affected parties in an

 effort to resolve their dispute. The moving party must attach to every discovery motion a

 certification that counsel have conferred and are unable to resolve their differences. The

 certification must detail counsel’s attempts to resolve the dispute.




                                                   6
Case 3:21-cv-00367-RGJ-CHL Document 40 Filed 01/14/22 Page 7 of 7 PageID #: 1636




          (8)      Deadline Extensions. No extensions of the deadlines set in this order, or any

 deadline set by the Federal Rules of Civil Procedure, shall be granted unless an appropriate

 motion is filed prior to expiration of the deadline in question, and upon a showing of good

 cause beyond the control of counsel in the exercise of due diligence. In the event all parties

 agree to extend a deadline set in this order, or a deadline contained in the Federal Rules of

 Civil Procedure, the parties must file a joint motion attaching the agreed order. This

 provision shall prevail over Joint Civil Local Rule 7.1 regarding motions to the extent

 inconsistent therewith.




 cc: Counsel of record


   0|35         January 14, 2022




                                                 7
